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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


BOB A. BRINSON,                              )
                                             )    Case No. 17-cv-01659
       Plaintiff,                            )
                                             )    Hon. John Z. Lee
       v.                                    )
                                             )
DR. PARTHASARATHI GHOSH, M.D.,               )
DR. LIPING ZHANG, M.D.,                      )
DR. IMHOTEP CARTER, M.D., and                )
WARDEN MARCUS HARDY                          )
                                             )
       Defendants.                           )
                                             )


                           NOTICE OF UNOPPOSED MOTION

       PLEASE TAKE NOTICE that on Thursday, August 1, 2019 at 9:00 a.m., we shall

appear before Judge John Z. Lee or any judge sitting in his stead, in Courtroom 1225 of the

United States District Court for the Northern District of Illinois, Eastern Division, 219 South

Dearborn Street, Chicago, Illinois, and then and there present the attached Unopposed Motion for

Extension of Summary Judgment Briefing Schedule.

Dated: July 26, 2019                               By: /s/ Megan R. Grant_______

                                                   Steven J. Yatvin
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                                                   Megan R. Grant
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                                         -and-
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                                         Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2019, I filed the foregoing Unopposed Motion for

Extension of Summary Judgment Briefing Schedule. with the District Court for the Northern

District of Illinois utilizing the e-file system which will send notice to all counsel of record in

compliance with Fed. R. Civ. P. 5(b)(3).




                                                     By: /s/ Megan R. Grant
